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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 CITY OF DALLAS,                             §
                                             §
       Plaintiff,                            §
 v.                                          §
                                             §
 DELTA AIR LINES, INC., SOUTHWEST            §
 AIRLINES CO., VIRGIN AMERICA INC.,          §
 AMERICAN AIRLINES, INC., UNITED             §         Civil Action No. 3:15-cv-02069-K
 AIRLINES, INC., SEAPORT AIRLINES,           §
 INC., UNITED STATES DEPARTMENT              §
 OF TRANSPORTATION, AND THE                  §
 FEDERAL AVIATION                            §
 ADMINISTRATION                              §
                                             §
       Defendants.


            DELTA AIR LINES, INC.’S RESPONSE TO SOUTHWEST AIRLINES CO.’S
                      MOTION FOR PARTIAL SUMMARY JUDGMENT




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        Under Northern District of Texas Civil Local Rule 56.4, Delta Air Lines, Inc. (“Delta”), by

and through its counsel, hereby files this Response to Southwest Airlines Co.’s (“Southwest”) motion

for partial summary judgment. As allowed under Local Rule 56.4, Delta’s grounds for opposing

Southwest’s motion are set forth in the brief and appendix submitted concurrently with this response.

Each of the matters required by Local Rule 56.4(a) will be set forth in Delta’s brief.


DATED: October 12, 2018                         Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

        I hereby certify that on October 12, 2018, I electronically filed the foregoing document with

the Clerk of Court for the United States District Court for the Northern District of Texas using the

electronic case filing system of the Court. Service on all attorneys of record who are Filing Users will

be automatically accomplished through Notice of Electronic Filing.


                                                /s/ William B. Dawson
                                                William B. Dawson




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